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1                                 UNITED STATES DISTRICT COURT
2                                        DISTRICT OF NEVADA
3
      JOHN DOE,                                              Case No. 2:23-cv-01453-RFB-VCF
4
             Petitioner,                                     ORDER DISMISSING ACTION
5                                                            PURSUANT TO STIPULATION
              v.                                                  OF THE PARTIES
6
      MICHAEL BERNACKE, et al.,                                         [ECF No. 16]
7
             Respondents.
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10           The parties have filed a Stipulation of Voluntary Dismissal, requesting that this habeas
11   corpus action be dismissed without prejudice. ECF No. 16. Good cause appearing,
12           IT IS ORDERED that the Stipulation of Voluntary Dismissal (ECF No. 16) is
13   GRANTED.
14           IT IS FURTHER ORDERED that all pending motions (ECF Nos. 9, 10, 13, 14) are
15   DISMISSED AS MOOT.
16           IT IS FURTHER ORDERED that this action is DISMISSED WITHOUT
17   PREJUDICE pursuant to the stipulation of the parties (ECF No. 16).
18           IT IS FURTHER ORDERED that the Clerk of the Court is directed to CLOSE THIS
19   CASE.
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21           DATED: October 23, 2023
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                                                   RICHARD F. BOULWARE, II
25                                                 UNITED STATES DISTRICT JUDGE
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